Entered: October 17th, 2018
                              Case 18-21748   Doc 16   Filed 10/17/18   Page 1 of 3
Signed: October 16th, 2018

SO ORDERED
NO TIMELY OPPOSITION FILED.




                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MARYLAND
                                           BALTIMORE DIVISION

         IN RE:                                          BCN#: 18-21748
         CHRISTINA MICHELLE LESSELS A/K/A
         CHRISTINA MICHELLE KANE A/K/A                   Chapter: 7
         CHRISTINA MICHELLE SIDES
                 Debtor
         FEDERAL HOME LOAN MORTGAGE
         CORPORATION, AS TRUSTEE FOR
         FREDDIE MAC SEASONED CREDIT RISK
         TRANSFER TRUST, SERIES 2017-2,AS
         OWNER OF THE RELATED MORTGAGE
         LOAN
         and its assignees and/or
         successors in interest,
                 Movant/Secured Creditor,
         v.
         CHRISTINA MICHELLE LESSELS AKA
         CHRISTINA MICHELLE KANE AKA
         CHRISTINA MICHELLE SIDES
                 Debtor
         and
         Monique D. Almy, Crowell & Moring
                 Trustee
                 Respondents


                                               ORDER LIFTING
                                              AUTOMATIC STAY

                   THE COURT having considered the Motion of Federal Home Loan Mortgage

         Corporation, as trustee for Freddie Mac Seasoned Credit Risk Transfer Trust, Series




         S&B# 18-276409
                   Case 18-21748   Doc 16   Filed 10/17/18    Page 2 of 3



2017-2,as owner of the Related Mortgage Loan for Relief from the Automatic Stay of 11

U.S.C. § 362 (a), the lack of opposition thereto and the record herein;

       IT IS ORDERED, that the automatic stay imposed by 11 U.S.C. §362(a) be lifted,

as to Federal Home Loan Mortgage Corporation, as trustee for Freddie Mac Seasoned

Credit Risk Transfer Trust, Series 2017-2,as owner of the Related Mortgage Loan,

holder of a certain promissory note evidencing an indebtedness established by the lien

of a Deed of Trust, so as to enable it to exercise its rights under state law as to a

property with the address of 1100 Lapidum Road, Havre De Grace, MD 21078, and

recorded among the Land Records of the County of Harford, Maryland in Book 7001 at

Page 0231.        Subsequent to such sale, the Movant may take all lawful actions in

accordance with state law, to take possession of the property, and shall provide a copy

of the Report of Sale and all Audit Reports to the Bankruptcy Trustee if there is a

surplus over and above the debt owed to the foreclosing noteholder.

I ask for this:


/s/ Renee Dyson
William M. Savage, Esquire
Federal I.D. Bar No. 06335
Kristine D. Brown, Esquire
Federal I.D. Bar No. 14961
Thomas J. Gartner, Esquire
Federal I.D. Bar No. 18808
Gregory N. Britto, Esquire
Federal I.D. Bar No. 22531
Renee Dyson, Esquire
Federal I.D. Bar No. 15955
Malcolm B. Savage, III, Esquire
Federal I.D. Bar No. 20300




S&B# 18-276409
                 Case 18-21748     Doc 16    Filed 10/17/18   Page 3 of 3



                                 Copies are to be sent to:

1.    SHAPIRO & BROWN, LLP
      10021 BALLS FORD ROAD, SUITE 200
      MANASSAS, VA 20109

2.    Christina Michelle Lessels a/k/a Christina Michelle Kane
      a/k/a Christina Michelle Sides
      106 Bayland Drive #16                                           Debtor(s)
      Havre De Grace, MD 21078

3.    Monique D. Almy
      Crowell & Moring
      1001 Pennsylvania Avenue, N.W.
      10th Floor
      Washington, DC 20004-2595                                       Trustee


4.    WILBUR W. BOLTON, III
      102 S. PARKE STREET                                             Debtor's
      ABERDEEN, MD 21001                                              Attorney




                                    END OF ORDER




S&B# 18-276409
